            Case 1:22-cv-00241-N/A Document 2            Filed 08/17/22     Page 1 of 22




                 UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________
JINKOSOLAR (U.S.) INC. and       )
JINKO SOLAR (U.S.) INDUSTRIES )
INC.                             )
                                 )
                   Plaintiffs,   )
                                 )
           v.                    )        Court No.: 22-00241
                                 )
UNITED STATES, UNITED STATES )
CUSTOMS AND BORDER,              )
PROTECTION, and CHRIS MAGNUS,)
in his Official Capacity as      )
Commissioner of United States    )
Customs and Border Protection    )
                                 )
                   Defendants.   )
                                 )

                                          COMPLAINT

       1.        Plaintiffs JinkoSolar (U.S.) Inc. and Jinko Solar (U.S.) Industries Inc. (together,

“Jinko” or “Plaintiffs”), by and through their attorneys, bring this action to challenge Presidential

Proclamation 10101 of October 10, 2020, which imposes additional safeguard duties on crystalline

silicone photovoltaic (“CSPV”) cells pursuant to Section 201 of the Trade Act of 1974.

Proclamation No. 10101, To Further Facilitate Positive Adjustment to Competition From Imports

of Certain Crystalline Silicon Photovoltaic Cells (Whether or Not Partially or Fully Assembled

Into Other Products), 85 Fed. Reg. 65,639 (Oct. 16, 2020) (“Modification Proclamation”). The

CSPV safeguard measures affect both CSPV solar panels and bifacial solar panels imported into

the United States, which are essential to U.S. solar energy. Plaintiffs import both products into the

United States.

       2.        The Modification Proclamation reflects attempts by the Trump Administration to

increase Section 201 safeguard duties on imported CSPV solar panels and bifacial solar panels.
            Case 1:22-cv-00241-N/A Document 2           Filed 08/17/22     Page 2 of 22




The Trump Administration twice previously sought to withdraw the exclusion of bifacial solar

panels from the CSPV safeguard measure. Both of those attempts were enjoined because the

Trump Administration had failed to abide by the requirements of the Administrative Procedure

Act or offer a reasoned basis for withdrawing the exclusion.

       3.        While the prior attempts to withdraw the bifacial panel exclusion remained

enjoined, President Trump issued the Modification Proclamation, which again withdrew the

exclusion for bifacial solar panels. President Trump further asserted that the exclusion that the

Administration had granted for bifacial solar panels had impaired the remedial effect of the CSPV

safeguard measure. The Trump Administration then relied on that finding to justify an increase in

the tariff rate for all CSPV products in the fourth year of the CSPV safeguard measure, from 15%

to 18%.

       4.        The Modification Proclamation is unlawful. In issuing the Modification

Proclamation, President Trump relied on a statutory provision that was intended to be used to

liberalize trade when the protections of the original safeguard measure are no longer necessary.

Instead, he used this provision to increase restrictions on trade. Moreover, the Trump

Administration failed to make the findings that the statute requires before a safeguard measure can

be modified pursuant to the provision he invoked. In this respect, the Modification Proclamation

is similar to the prior attempts to withdraw the bifacial panel exclusion, as the Trump

Administration has failed to follow the required procedures and to make the necessary to make the

necessary findings before acting.

       5.        Plaintiffs suffered significant financial losses from the tariffs imposed by

Defendants under the Modification Proclamation. Specifically, Plaintiffs paid tens of millions of




                                                2
            Case 1:22-cv-00241-N/A Document 2             Filed 08/17/22      Page 3 of 22




dollars in customs duties on imported CSPV solar panels and bifacial solar panels, which are

essential to the deployment of clean, solar energy in the United States.

       6.        In Solar Energy Industries Ass’n v. United States (“SEIA”), 553 F. Supp. 3d 1322

(Ct. Int’l Trade 2021), appeal docketed, No. 22-1392 (Fed. Cir. Jan. 24, 2022), this Court

determined that the Modification Proclamation is unlawful and set aside the Modification

Proclamation as “null and void.” Id. In its opinion, this Court held that (1) the increase in duties

on CSPV solar panels from 15% to 18%; and (2) the revocation of a tariff exclusion applicable to

bifacial solar panels imposed pursuant to Modification Proclamation were a “clear misconstruction

of the governing statute resulting in action[s] outside delegated authority.” Id. at 1340 (internal

citations omitted). Consequently, on December 7, 2021, this Court enjoined the enforcement of

the Modification Proclamation and suspended further liquidation of affected entries. On February

4, 2022, President Biden issued Proclamation 10339 which effectively reversed both the increase

in duties, and the revocation of the exclusion. Proclamation No. 10339, To Continue Facilitating

Positive Adjustment to Competition From Imports of Certain Crystalline Silicon Photovoltaic

Cells (Whether or Not Partially or Fully Assembled Into Other Products), 87 Fed. Reg.7357 (Feb.

9, 2022) (the “2022 Modification Proclamation”).

       7.        On November 16, 2021, in SEIA, this Court agreed that both the withdrawal of the

exclusion of bifacial solar panels and increase of the safeguard tariffs on all CSPV panels was a

clear misconstruction of the statute, reasoning that the statute “must be read to authorize only trade-

liberalizing modifications to safeguard measures, because interpreting the statute to permit trade-

restricting modifications would undermine the broader statutory scheme.” SEIA, 553 F. Supp. 3d

at 1342. This Court’s holding consequently reverted the duty rate of the Section 201 safeguard

tariff for solar cells (over quota only) and modules for the fourth year of the safeguard measure


                                                  3
            Case 1:22-cv-00241-N/A Document 2             Filed 08/17/22      Page 4 of 22




from 18 percent back to 15 percent, and reinstated the exclusion of bifacial solar panels from the

Section 201 safeguard tariff. See generally 85 Fed. Reg. 65,639; U.S. Customs and Border

Protection, CSMS #50525157 - Guidance: Suspension of Liquidation in Pending Section 201

Litigation, CIT No. 20-03941, https://content.govdelivery.com/accounts/USDHSCBP/bulletins/

302f3e5 (Dec. 28, 2021).

       8.        On December 28, 2021, U.S. Customs and Border Protection (“CBP”) issued

guidance on the court’s decision in SEIA. See CSMS #50525157 - Guidance: Suspension of

Liquidation in Pending Section 201 Litigation          As ordered by this Court, CBP suspended

“liquidation of all entries . . . entered under HTS 9903.45.22 and 9903.45.25 entered between

February 7, 2021 and February 6, 2022” and suspended liquidation where it identified “any entries

of bifacial solar panels entered between October 25, 2020 and February 6, 2022, under HTS

9903.45.25 or any other HTS classification.” Id.

       9.        On February 4, 2022, President Biden issued Proclamation 10339, which reduced

the duties on CSPV modules to 15% and reinstated the exclusion on bifacial solar panels.

Proclamation No. 10339, 87 Fed. Reg. at 7358..

                                          THE PARTIES
       10.       Plaintiff Jinko Solar (U.S.) Industries Inc. (“Jinko Solar Industries”) is a U.S. solar

panel manufacturing company. Jinko Solar Industries imports CSPV cells that are assembled into

solar panels at its manufacturing facility in Jacksonville, Florida.

       11.       Plaintiff JinkoSolar (U.S.) Inc. imports, markets, and sells CSPV panels destined

for U.S. solar energy development projects.

       12.       Defendant United States is the federal government of the United States.




                                                   4
            Case 1:22-cv-00241-N/A Document 2            Filed 08/17/22      Page 5 of 22




       13.       Defendant United States Customs and Border Protection is an executive agency of

the U.S. Government and a component of the Department of Homeland Security. It is

headquartered at 1300 Pennsylvania Avenue, N.W., Washington, D.C. 20229.

       14.       Defendant Chris Magnus is the Commissioner of CBP. He is sued in his official

capacity.

                                         JURISDICTION

       15.       This Court has jurisdiction pursuant to 28 U.S.C. § 1581(i)(1)(B)-(D), which

provides that “the Court of International Trade shall have exclusive jurisdiction of any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of the

United States providing for . . . tariffs, duties, fees, or other taxes on the importation of

merchandise for reasons other than the raising of revenue,” and “administration and enforcement

with respect to the matters referred to in paragraphs (A) through (C) of this subsection and

subsections (a)-(h) of this section.” 28 U.S.C. § 1581(i)(1)(B), (D).

       16.       The tariff rate quota on CSPV solar cells and the additional tariff imposed on

solar panels, including those ordered to be re-imposed on bifacial solar panels, were imposed

pursuant to Section 201 of the Trade Act of 1974. Chapter 1 of title II of the Trade Act of 1974,

which includes Section 201, is a law “providing for . . . tariffs, duties, fees, or other taxes on the

importation of merchandise for reasons other than the raising of revenue” and “quantitative

restrictions on the importation of merchandise for reasons other than the protection of the public

health or safety.” This action thus arises out of a law described in 28 U.S.C. § 1581(i)(1)(B) and

(C).

       17.       Plaintiffs seek a declaration that the Modification Proclamation is unlawful and a

refund for tariffs previously paid and interest thereon. Plaintiffs’ claims also arise out of the


                                                  5
         Case 1:22-cv-00241-N/A Document 2                Filed 08/17/22      Page 6 of 22




“administration and enforcement with respect to matters referred to in subparagraphs (A) through

(C)” of 28 U.S.C. § 1581(i)(1), and the Court therefore has jurisdiction under 28 U.S.C. §

1581(i)(1)(D).

                                            STANDING

       18.       Plaintiffs have standing pursuant to 28 U.S.C. § 2631(i), which states that “[a]ny

civil action of which the Court of International Trade has jurisdiction, other than an action specified

in subsections (a)-(h) of this section, may be commenced in the Court by any person adversely

affected or aggrieved by agency action within the meaning of section 702 of title 5,” which in turn

states that “[a] person suffering legal wrong because of agency action, or adversely affected or

aggrieved by agency action within the meaning of a relevant statute, is entitled to judicial review

thereof.” 5 U.S.C. § 702.

       19.       As parties adversely affected or aggrieved by the increase in safeguard duties

stemming from the Modification Proclamation, Plaintiffs have standing to challenge the

Proclamation and resulting duties.

       20.       As the importer of record of articles affected by the Modification Proclamation,

Plaintiffs are responsible for the payment of the unlawful duties to CBP on certain CSVP panels.

Thus, Plaintiffs have suffered actual and particularized injury that was the direct result of

Defendants’ unlawful action.

                                TIMELINESS OF THIS ACTION

       21.       An action under 28 U.S.C. § 1581(i) must be commenced within two years after

the cause of action first accrues. 28 U.S.C. § 2636(i).




                                                  6
         Case 1:22-cv-00241-N/A Document 2               Filed 08/17/22      Page 7 of 22




       22.      The Modification Proclamation was published in the Federal Register on October

16, 2020. Plaintiffs’ claims accrued, at the earliest, on the date that the Modification Proclamation

published in the Federal Register. Plaintiffs have therefore timely filed this action.

                HISTORY REGARDING THE CHALLENGED CONDUCT

 Issuance of the Solar Safeguard Measure

       23.      On May 23, 2017, the U.S. International Trade Commission (“ITC”) initiated a

“safeguard” investigation under Chapter 1 of title II of the Trade Act of 1974, 19 U.S.C. §§ 2251,

et seq., of CSPV cells (whether or not partially assembled into other products). See Crystalline

Silicon Photovoltaic Cells’ (Whether or Not Partially or Fully Assembled Into Other Products);

Institution and Scheduling of Safeguard Investigation and Determination That the Investigation Is

Extraordinarily Complicated, 82 Fed. Reg. 25,331 (June 1, 2017). CSPV cells are products that

convert the sun’s energy into electricity. CSPV panels are collections of CSPV solar cells.

       24.      On November 13, 2017, the ITC transmitted to President Trump a report on its

investigation, finding that certain CSPV panels were “being imported into the United States in

such increased quantities as to be a substantial cause of serious injury, or threat of serious injury,

to the domestic industry producing a like or directly competitive article.” See Proclamation No.

9693, To Facilitate Positive Adjustment to Competition From Imports of Certain Crystalline

Silicon Photovoltaic Cells (Whether or Not Partially or Fully Assembled Into Other Products) and

for Other Purposes, 83 Fed. Reg. 3541, 3541 (Jan. 25, 2018). The ITC submitted a supplemental

report on December 27, 2017, identifying “unforeseen developments that led to the importation of

CSPV panels into the United States in such increased quantities as to be a substantial cause of

serious injury.” Id.




                                                  7
         Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22      Page 8 of 22




       25.      Following receipt of the ITC reports and the Commissioners’ recommendations

regarding the appropriate actions to address the serious injury to the domestic industry, President

Trump issued Proclamation 9693 on January 23, 2018, imposing a safeguard measure of a type

described in Section 203(a)(3) of the Trade Act with regard to certain CSPV panels. See id. at

3541-51. As relevant to this case, President Trump imposed a tariff rate quota on CSPV cells and

an additional duty on CSPV panels at the following rates:

                If entered during the period from
                February 7, 2018 through February 6, 2019 . . . . . . . . . 30%

                If entered during the period from
                                                                            25%
                February 7, 2019 through February 6, 2020 . . . . . . . . .

                If entered during the period from
                                                                            20%
                February 7, 2020 through February 6, 2021 . . . . . . . . .

                If entered during the period from
                                                                            15%
                February 7, 2021 through February 6, 2022 . . . . . . . . .

Id. at 3548, 3549.

 Exclusion of Bifacial CSPV Panels

       26.      Presidential Proclamation 9693 also provided that “[w]ithin 30 days after the date

of this proclamation, the USTR [United States Trade Representative] shall publish in the Federal

Register procedures for requests for exclusion of a particular product from the safeguard measure

established in this proclamation. If the USTR determines, after consultation with the Secretaries

of Commerce and Energy, that a particular product should be excluded, the USTR is authorized,

upon publishing a notice of such determination in the Federal Register, to modify the HTS

provisions created by Annex I to this proclamation to exclude such particular product from the

safeguard measure . . . .” Id. at 3543-44.




                                                 8
         Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22     Page 9 of 22




       27.      On February 14, 2018, USTR published a notice setting out the procedures to

request a product exclusion and opened a public docket on the Federal eRulemaking Portal,

http://www.regulations.gov, for the submission of exclusion requests and comments regarding

submitted requests. See Procedures To Consider Additional Requests for Exclusion of Particular

Products From the Solar Products Safeguard Measure, 83 Fed. Reg. 6670 (Feb. 14, 2018).

USTR’s notice did not restrict who could request an exclusion. See id. USTR required exclusion

requests to be received by March 16, 2018 and any responsive comments to be received by April

16, 2018. See id. at 6670, 6672. USTR stated that it would “evaluate each request on a case-by-

case basis” and “grant only those exclusions that do not undermine the objectives of the safeguard

measures.” Id. at 6671. The notice establishing the exclusion process did not include any reference

to the possibility that a granted exclusion could be modified or withdrawn at a later date.

       28.      Several interested parties timely filed exclusion requests with USTR or

commented on exclusion requests for bifacial panels and bifacial solar cells filed with USTR,

which are products that absorb light and generate electricity on each side of the panel or cell. See

Exclusion of Particular Products From the Solar Products Safeguard Measure, 84 Fed. Reg.

27,684, 27,684 (June 13, 2019).

       29.      Because light is absorbed and electricity is generated from each side of a bifacial

solar panel, bifacial panels increase total energy production. A single bifacial panel increases

energy output between 5% and 20%, which means that for the same project, using monofacial

panels would require more panels, more racking, more land, and more foundation to achieve the

same energy output.

       30.      On June 13, 2019, USTR published a notice in the Federal Register granting an

exclusion from the safeguards action for “bifacial solar panels that absorb light and generate


                                                 9
         Case 1:22-cv-00241-N/A Document 2                Filed 08/17/22      Page 10 of 22




electricity on each side of the panel and that consist of only bifacial solar cells that absorb light and

generate electricity on each side of the cells.” Id. at 27,685. In granting the exclusion, USTR

stated that it had evaluated the factors laid out in the February 14, 2018 notice, including the

requirement that the exclusion not undermine the objectives of the safeguard measures. See id. at

27,684. USTR’s notice did not contain any indication that the granted exclusion might be revisited,

modified, or withdrawn in the future.

        31.      Solar projects take years to develop and coordination is required at multiple levels.

Project success depends on all elements of the project—including the supply and pricing of

equipment, obtaining requisite permits, project financing, timely construction, interconnection to

the electric grid, and entering into power purchase agreements with utility customers—coming

together at the right time. Because solar panels are the primary components of a solar project, any

variation in their price or an inability to timely procure panels will drastically impact the viability

of the solar project and may threaten the project altogether.

 USTR’s Attempts to Withdraw the Bifacial CSPV Panel Exclusion and Resulting Litigation

        32.      On October 9, 2019, USTR published a notice in the Federal Register that the

exclusion for bifacial solar panels would be withdrawn, effective October 28, 2019, meaning that

imported bifacial CSPV panels would again be subject to the CSPV safeguard action. See

Withdrawal of Bifacial Solar Panels Exclusion to the Solar Products Safeguard Measure, 84 Fed.

Reg. 54,244 (Oct. 9, 2019). The withdrawal of the bifacial panel exclusion was not subject to any

formal notice and comment.

        33.      In response, Invenergy Renewables, LLC instituted an action in the U.S. Court of

International Trade challenging the withdrawal of the bifacial panel exclusion by filing a summons,




                                                   10
         Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22     Page 11 of 22




complaint, and motion for a temporary restraining order. See Invenergy Renewables, LLC v.

United States, Court No. 19-00192 (Ct. Int’l Trade filed Oct. 21, 2019).

       34.      On November 7, 2019, this Court issued a temporary restraining order preventing

USTR’s initial withdrawal of the bifacial panel exclusion from going into effect, and this Court

extended the temporary restraining order by 14 days on November 21, 2019. This Court issued a

preliminary injunction on December 5, 2019, prohibiting the withdrawal of the bifacial panel

exclusion “until entry of final judgment as to Plaintiffs’ claims against Defendants in this case.”

Invenergy Renewables LLC v. United States, 422 F. Supp. 3d 1255, 1295 (Ct. Int’l Trade 2019).

       35.      In its opinion accompanying the preliminary injunction order, this Court

concluded that Invenergy, as well as other plaintiffs who joined the action, had standing to

challenge the withdrawal of the bifacial panel exclusion. Id. at 1271, 1279-80. This Court then

went on to conclude that all four preliminary injunction factors weighed in favor of issuing

enjoining the withdrawal. Id. at 1280. On the issue of likelihood of success, this Court concluded

that the plaintiffs had established a fair likelihood of success that USTR violated the notice-and-

comment rulemaking requirements of the Administrative Procedure Act (“APA”). Id. at 1281-87.

This Court also concluded that USTR’s decision to withdraw the bifacial panel exclusion was

likely arbitrary and capricious. Id. at 1287-88.

       34.      Following entry of the preliminary injunction, USTR published a notice in the

Federal Register establishing a procedure to consider the withdrawal of the bifacial panel exclusion

and inviting comments as to whether USTR “should maintain the exclusion of bifacial solar panels

from the safeguard measure, withdraw the exclusion, or take some other action within his authority

with respect to this exclusion.” See Procedures To Consider Retention or Withdrawal of the

Exclusion of Bifacial Solar Panels From the Safeguard Measure on Solar Products, 85 Fed. Reg.


                                                   11
        Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22      Page 12 of 22




4756, 4756 (Jan. 27, 2020). USTR stated that “[i]f the U.S. Trade Representative determines after

receipt of comments pursuant to this notice that it would be appropriate to withdraw the bifacial

panel exclusion or take some other action with respect to this exclusion, the U.S. Trade

Representative will request that the Court lift the injunction” against withdrawing the exclusion.

Id.

       35.      Following this comment process, USTR published a determination in the Federal

Register on April 17, 2020, again stating that the bifacial panel exclusion should be completely

withdrawn. Determination on the Exclusion of Bifacial Solar Panels From the Safeguard Measure

on Solar Products, 85 Fed. Reg. 21,497 (Apr. 17, 2020) (hereinafter, the “April USTR Notice”).

The April USTR Notice explained that “the U.S. Trade Representative will request that the U.S.

Court of International Trade lift the order preliminarily enjoining the withdrawal from entering

into effect.” Id. at 21,497. The April USTR Notice failed to cite to or discuss any individual

submission that was placed on the record by interested parties.

       36.      The Government first moved to lift the preliminary injunction on April 16, 2020,

the day before the April USTR Notice was actually published in the Federal Register. On May 27,

2020, the court issued an opinion denying the Government’s motion to dissolve the preliminary

injunction, finding that the Government had not proved sufficiently changed circumstances to

dissolve the preliminary injunction. Invenergy Renewables LLC v. United States, 450 F. Supp. 3d

1347, 1363-64 (Ct. Int’l Trade 2020). The court also granted the plaintiffs leave to amend their

complaints to include a challenge to the April USTR Notice. Id. at 1358.

       37.      In response to the court’s May 27, 2020 opinion, USTR published a notice on June

12, 2020 purporting to rescind USTR’s original October 2019 notice withdrawing the bifacial

panel exclusion. Rescission of the October 2019 Withdrawal of the Bifacial Solar Panels


                                               12
         Case 1:22-cv-00241-N/A Document 2               Filed 08/17/22     Page 13 of 22




Exclusion From the Safeguard Measure on Solar Products, 85 Fed. Reg. 35,975 (June 12, 2020).

On the same day, the Government filed a renewed motion to dissolve the preliminary injunction.

       38.       This Court issued an opinion on October 15, 2020, denying the Government’s

second motion to dissolve the preliminary injunction and granting the plaintiffs’ cross-motion to

modify the preliminary injunction to explicitly cover the April USTR Notice. Invenergy

Renewables LLC v. United States, 476 F. Supp. 3d 1323 (Ct. Int’l Trade 2020). The court held

that the April USTR Notice was likely arbitrary and capricious, which warranted modification of

the preliminary injunction. Id. at 1350. The court further held on the merits that USTR’s original

October 2019 notice violated the APA for the reasons stated in the December 5, 2019 opinion

accompanying the preliminary injunction order. Id. at 1340. The court therefore vacated USTR’s

original withdrawal notice. Id.

 The President’s Modification Proclamation

       39.       On October 16, 2020, the Modification Proclamation was published in the Federal

Register, effective October 25, 2020. 85 Fed. Reg. 65,639, 65,641-42.

       40.       The Modification Proclamation had three primary effects.

       41.       First, the Modification Proclamation re-imposed Section 201 safeguard duties on

bifacial panels, which had previously been subject to an exclusion. Id. at 65,640, 65,642.

       42.       Second, the Modification Proclamation increased Section 201 safeguard tariffs on

imported CSPV panels, including but not limited to bifacial CSPV panels, in year four of the CSPV

safeguard measure (February 7, 2021 through February 6, 2022) from 15% to 18%. Id. at 65,640.

The stated rationale for this tariff increase was that the exclusion of bifacial panels had supposedly

impaired the remedial effect of the original safeguard measure. Id.




                                                 13
        Case 1:22-cv-00241-N/A Document 2             Filed 08/17/22     Page 14 of 22




       43.      Finally, the Modification Proclamation modified the HTS to reflect the re-

imposition of Section 201 safeguard duties on bifacial CSPV panels and the increase in the Section

201 duty rate for year four of the CSPV safeguard measure. Id. at 65,640-42.

       44.      As authority for the action taken in the Modification Proclamation, the President

cited section 204(b)(1)(B) of the Trade Act of 1974, 19 U.S.C. § 2254(b)(1)(B), which allows the

President to reduce, modify, or terminate Section 201 safeguard measures if he “determines, after

a majority of the representatives of the domestic industry submits to the President a petition

requesting such reduction, modification or termination on such basis, that the domestic industry

has made a positive adjustment to import competition.” The President asserted that he had received

a petition from the domestic industry, and he found that the domestic industry “has begun to make

positive adjustment[s] to import competition.” 85 Fed. Reg. at 65,640. The President did not

specify which petition he was referring to, and Plaintiffs are not aware of any petition having

actually been submitted to the President.

       45.      The plaintiffs in the Court No. 19-00192 thus filed motions to supplement their

complaints to include challenges to the Modification Proclamation and to modify the existing

preliminary injunction to cover the Modification Proclamation. The court issued a temporary

restraining order on October 24, 2020, barring the Government from enforcing the Modification

Proclamation. Invenergy Renewables LLC v. United States, 482 F. Supp. 3d 1344, 1347 (Ct. Int’l

Trade 2020). The court extended the temporary restraining order on November 6, 2020. Id. In an

opinion issued on November 19, 2020, the court denied the motions to supplement the complaints

and concluded that any further recourse regarding the Modification Proclamation should be sought

through a separate action. Id. at 1347-48, 1357-58.




                                               14
         Case 1:22-cv-00241-N/A Document 2             Filed 08/17/22      Page 15 of 22




       46.      In the November 19, 2020 opinion, the court also lifted the temporary restraining

order and denied the motion to modify the preliminary injunction. Id. at 1347-48. CBP

subsequently issued a bulletin advising that “CBP will begin enforcing the revocation of the

[bifacial panel exclusion] on merchandise entered or withdrawn from warehouse for consumption

on or after 12:01 a.m. October 25, 2020.” U.S. Customs and Border Protection, CSMS #4500917

– UPDATED GUIDANCE: Temporary Restraining Order on the Modification of Section 201

Action on Solar Cells and Panels Lifted, https://content.govdelivery.com/accounts/USDHSCBP/

bulletins/2aea8d3?reqfrom=share (Nov. 27, 2020).

 Impact of the Modification Proclamation

       47.      The Modification Proclamation has caused significant economic and business

reputational harm to Plaintiffs. Plaintiffs have paid millions of dollars in additional tariffs as a

result of the Modification Proclamation on CSPV panels which are essential to utility-scale solar

projects. Domestic manufacturers can supply only a minor fraction of the projected overall

demand for utility-scale solar projects. The Modification Proclamation will therefore adversely

impact the development of clean solar energy in the United States by raising the cost of solar

projects and solar energy, contrary to the interests of Plaintiffs. Fewer solar projects means fewer

jobs and fewer homes and businesses being powered by clean, renewable solar energy.

       48.      Plaintiffs seek an order that increased Section 201 duties collected from them on

CSPV panels which were subject to the increased 18% duty rate, and all duties paid on bifacial

solar panels pursuant to the Modification Proclamation to the extent they act as importer of record

be refunded, with interest.




                                                15
         Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22     Page 16 of 22




 The Court’s Nov. 16, 2021 Decision in Court No. 20-03941

       49.      On November 16, 2021, in Solar Energy Industries Ass’n v. United States, 553 F.

Supp. 3d 1322 (Ct. Int’l Trade2021), appeal docketed, No. 22-1392 (Fed. Cir. Jan. 24, 2022), this

court considered analogous arguments and allegations to those made in this Complaint.

       50.      There, the plaintiffs argued that the Modification Proclamation fails to comply

substantively with Section 204(b)(1)(B) of the Trade Act of 1974 because it restricts, rather than

liberalizes, trade. Id. at 1340 The court agreed.

       51.      In relevant part, the court concluded that, “[b]ecause Section 204(b)(1)(B) permits

only trade-liberalizing modiﬁcations to existing safeguard measures, the court concludes that

Proclamation 10101’s withdrawal of the exclusion of bifacial solar panels and increase of the

safeguard duties on CSPV panels constituted both a clear misconstruction [of] the statute and

action outside the President's delegated authority.” Id. at 1343.

       52.      The Court went on to enjoin the government from enforcing the Modification

Proclamation and further ordered the government to refund of all of the plaintiffs’ safeguard duties

collected pursuant to Proclamation 10101, with interest. Id. at 1343-44.

                                  STATEMENT OF CLAIMS

       53.      In the following respects, the President’s Modification Proclamation and its

implementation are not in accordance with law.

                                          COUNT ONE
                           (Violation of Section 204 of the Trade Act)

       54.      Paragraphs 1 through 53 of this Complaint are hereby incorporated by reference.

       55.      A presidential action may be set aside if the President’s action involves “‘a clear

misconstruction of the governing statute, a significant procedural violation, or action outside

delegated authority.’” Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1346 (Fed. Cir. 2018)

                                                16
         Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22     Page 17 of 22




(citation omitted); Maple Leaf Fish Co. v. United States, 762 F.2d 86, 89 (Fed. Cir. 1985); Motions

Systems Corp. v. Bush, 437 F.3d 1356, 1361 (Fed. Cir. 2006) (en banc) (stating that a court may

consider whether the President has violated an explicit statutory mandate). The Declaratory

Judgment Act authorizes any court of the United States to “declare the rights and other legal

relations of any interested party seeking such declaration, whether or not further relief is or could

be sought.” 28 U.S.C. § 2201(a).

       56.      In modifying the CSPV safeguard measure, President Trump invoked Section

204(b)(1)(B), 19 U.S.C. § 2254(b)(1)(B). That section provides in relevant part that:

         Action taken under section 2253 of this title [Section 203 of the Trade Act] may
         be reduced, modified, or terminated by the President if the President . . .
         determines, after a majority of the representatives of the domestic industry
         submits to the President a petition requesting such reduction, modification, or
         termination on such basis, that the domestic industry has made a positive
         adjustment to import competition.

       57.      Section 204(b)(1)(B) authorizes modifications of a safeguard measure in response

to an industry petition only if they are trade liberalizing—as indicated by the fact that such

modifications can occur only if “the domestic industry has made a positive adjustment to import

competition.” Section 601(6) of the Trade Act of 1974 also explains that for purposes of the Act,

“[t]he term ‘modification’, as applied to any duty or other import restriction, includes the

elimination of any duty or other import restriction,” which indicates that modifications under the

Act generally were intended by Congress to be trade liberalizing, rather than trade restricting. 19

U.S.C § 2481(6).

       58.      Both changes to the CSPV safeguard measure proclaimed in the Modification

Proclamation—(1) the withdrawal of the bifacial panel exclusion; and (2) the increase in the duty

rate in year four of the measure—place further restrictions on trade. The changes to the CSPV

safeguard measure were therefore made in violation of the substantive limitations of Section 204

                                                 17
         Case 1:22-cv-00241-N/A Document 2             Filed 08/17/22     Page 18 of 22




of the Trade Act governing modifications of safeguard actions and must be set aside as action

involving “a clear misconstruction [of] the statute and action outside the President’s delegated

authority.” SEIA, 553 F. Supp. 3d at 1343.

       59.       Section 204(b) of the Trade Act of 1974, 19 U.S.C. § 2254(b), also sets procedural

requirements that must be followed and requires certain findings to be made by the President before

a safeguard action can be modified. Those prerequisites to Presidential action regarding the

petition were not satisfied.

       60.       Among other things, President Trump failed to make the finding that is required

in order to take action under Section 204(b)(1)(B)—that “the domestic industry has made a positive

adjustment to import competition.” 19 U.S.C. § 2254(b)(1)(B) (emphasis added). Section

201(b)(1) provides that “a positive adjustment to import competition occurs when (A) the domestic

industry (i) is able to compete successfully with imports after actions taken under section 2254 of

this title terminate, or (ii) the domestic industry experiences an orderly transfer of resources to

other productive pursuits; and (B) dislocated workers in the industry experience an orderly

transition to productive pursuits.” Id. § 2251(b)(1). President Trump found only that the domestic

industry “has begun to make positive adjustments to import competition,” Modification

Proclamation, 85 Fed. Reg. 65,639, 65,640 (Oct. 16, 2020) (emphasis added), which is not a

finding that the industry “has made” the adjustment required for action under Section 204(b)(1)(B).

       61.       Moreover, President Trump failed to show that “a majority of the representatives

of the domestic industry” submitted “a petition requesting such reduction, modification, or

termination on such basis.” 19 U.S.C. § 2254(b)(1)(B). The President did not identify the

representatives of the domestic industry that he claimed had petitioned for a modification, and the

government has not published the claimed petition or otherwise made it available for review. Upon


                                                18
         Case 1:22-cv-00241-N/A Document 2             Filed 08/17/22     Page 19 of 22




information and belief, no petition meeting the criteria of Section 204(b)(1)(B) was submitted to

the President prior to his issuance of the Modification Proclamation.

       62.      The changes to the CSPV safeguard measure proclaimed in the Modification

Proclamation—(1) the withdrawal of the bifacial panel exclusion; and (2) the change in the duty

rate in year four of the measure—were therefore made in violation of the procedural requirements

of Section 204 of the Trade Act governing modifications of safeguard actions. The Modification

Proclamation must therefore be set aside as action involving “‘a clear misconstruction of the

governing statute [or] a significant procedural violation.’” Silfab, 892 F.3d at 1346 (citation

omitted).

                                          COUNT TWO
                            (Violation of Section 203 of the Trade Act)

       63.      Paragraphs 1 through 62 of this Complaint are hereby incorporated by reference.

       64.      Section 203(e)(7)(A) of the Trade Act of 1974, 19 U.S.C. § 2253(e)(7)(A), does

not permit a safeguard measure to be re-imposed on an article for a period of two years after the

prior measure terminated.

       65.      The prior action terminated with respect to bifacial CSPV panels in June 2019,

when the exclusion for bifacial CSPV panels was granted. Accordingly, “no new action may be

taken” to re-impose a safeguard measure on those panels until June 2021 at the earliest. 19 U.S.C.

§ (e)(7)(A).

       66.      The withdrawal of the exclusion for bifacial CSPV panels in October 2020 results

in the imposition of safeguard duties on those panels less than two years after a safeguard measure

was terminated with respect to those panels, in violation of Section 203(e)(7)(A) of the Trade Act.

       67.      Accordingly, the Modification Proclamation’s withdrawal of the exclusion must

be set aside as action involving “‘a clear misconstruction of the governing statute, a significant

                                                19
        Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22      Page 20 of 22




procedural violation, or action outside delegated authority.’” Silfab, 892 F.3d at 1346 (citation

omitted).

                                       COUNT THREE
                          (Violation of Section 201 of the Trade Act)

       68.      Paragraphs 1 through 67 of this Complaint are hereby incorporated by reference.

       69.      Section 201(a) of the Trade Act of 1974 provides that “the President, in

accordance with this part, shall take all appropriate and feasible action within his power which the

President determines will facilitate efforts by the domestic industry to make a positive adjustment

to import competition and provide greater economic and social benefits than costs.” 19 U.S.C.

§ 2251(a). Section 201 does not exclude action taken in accordance with Section 204 from the

requirement that the action “provide greater economic and social benefits than costs.”

       70.      In issuing the Modification Proclamation, President Trump failed to consider and

did not make any determination regarding the relative economic and social benefits and costs

before modifying the safeguard measure.

       71.      President Trump therefore failed to comply with the procedural and substantive

requirements of the statute, and the Modification Proclamation must be set aside as action

involving “‘a clear misconstruction of the governing statute, a significant procedural violation, or

action outside delegated authority.’” Silfab, 892 F.3d at 1346 (citation omitted).




                                                20
        Case 1:22-cv-00241-N/A Document 2              Filed 08/17/22      Page 21 of 22




                         DEMAND FOR JUDGMENT AND RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

       i. Issue a declaratory judgment that the Modification Proclamation is unlawful and

          therefore null and void;

       ii. Order that all increased Section 201 safeguard duties collected directly from Jinko

          due to the Modification Proclamation be refunded, with interest; and

       iii. Provide such further relief as this Court deems just and proper.


August 17, 2022                               Respectfully submitted,

                                                /s/ Richard A. Mojica
                                              Richard A. Mojica
                                              Mary H. Mikhaeel
                                              MILLER & CHEVALIER CHARTERED
                                              900 Sixteenth Street NW
                                              Washington, D.C. 20006
                                              202-626-5800 (Telephone)
                                              202-626-5801 (Fax)
                                              Email: rmojica@milchev.com
                                              Email: mmikhaeel@milchev.com

                                              Counsel for JinkoSolar (U.S.) Inc. and Jinko Solar
                                              (U.S.) Industries Inc.




                                                21
       Case 1:22-cv-00241-N/A Document 2               Filed 08/17/22   Page 22 of 22




                                CERTIFICATE OF SERVICE

      Pursuant to U.S. Court of International Trade Rule 4(b) and (h), I hereby certify that on

August 17, 2022, I caused copies of Complaint, Summons, Form 5 Information Statement, and

two Form 13 Disclosure Statements to be served on the following parties by certified mail,

return receipt requested, and by email as indicated:

Attorney-In-Charge
International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza, Room 346
New York, NY 10278
Email: civil.itfoecf@usdoj.gov

Attorney-In-Charge
Commercial Litigation Branch
Civil Division
U.S. Department of Justice
1100 L Street, NW
Washington, DC 20530

Scott K. Falk, Chief Counsel
Office of Chief Counsel
U.S. Customs and Border Protection
1300 Pennsylvania Avenue, Suite 4.4-B
Washington, D.C. 20229
Email: cbpserviceintake@cbp.dhs.gov
